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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
Vv.

Crim. No. 17-232 (EGS)

MICHAEL T. FLYNN,

Defendant.

[PROPOSED] ORDER

On consideration of the Motion of Watergate Prosecutors for Leave to File Brief as Amici
Curiae in Support of Neither Party, it is hereby
ORDERED that the motion is granted. The Clerk is directed to docket the Watergate

Prosecutors’ proposed amicus brief.

Dated:

EMMET G. SULLIVAN
UNITED STATES DISTRICT JUDGE
